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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
______________________________________________
                                              )
UNITED STATES OF AMERICA                      )
                                              )
                    Plaintiff,                )
v.                                            ) Civil Action No. 04-798 (PLF/GMH)
                                              )
ALL ASSETS HELD AT BANK JULIUS BAER & )
CO., LTD., GUERNSEY BRANCH, ACCOUNT           )
NUMBER 121128, IN THE NAME OF PAVLO           )
LAZARENKO, ET AL.                             )
                                              )
                    Defendants In Rem.        )
______________________________________________)

                                                  ORDER

        The government has filed a letter requesting that the Court “compel the appearance of [Claimant]

Alexander Lazarenko for a deposition on April 9-10, 2019, in either Kiev, Ukraine, or Lviv, Ukraine.

Should Alexander Lazarenko refuse to confirm his appearance at the deposition at least ten days in advance,

the [government] requests that Alexander Lazarenko be required to show cause why his claim in this matter

should not be dismissed for failure to participate in good faith in the proceedings.” ECF No. 1131-1 at 2.

Alexander Lazarenko, who lives in Ukraine, seeks to travel to the United States for his deposition, which

will require a visa, and therefore asks the Court to enter an Order requiring him to appear for a deposition

here. ECF No. 1132-1. Claimant Pavel Lazarenko joins in Alexander Lazarenko’s request that the deposi-

tion be held in the United States for the convenience of the parties and of counsel, and to avoid needless

expenditure of funds. ECF No. 1133.

        Neither the government nor the two claimants have advised the Court as to the anticipated length

of time it will take Alexander Lazarenko to procure a visa to travel to the United States, or the likelihood

that he will be granted one. Nevertheless, in light of the efficiencies of holding the deposition in the United
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States, the undersigned will permit a reasonable extension of the discovery deadline to allow Alexander

Lazarenko to attempt to acquire a visa to travel here to sit for his deposition.1 Accordingly, it is hereby

        ORDERED that the government's application is DENIED WITHOUT PREJUDICE. It is fur-

ther

        ORDERED that the request of Claimants Alexander Lazarenko and Pavel Lazarenko for an Order

requiring Alexander Lazarenko to appear for a deposition in the United States is DENIED. It is further

        ORDERED that the government and Alexander Lazarenko shall cooperate in good faith to permit

Alexander Lazarenko to timely file an application for a visa to travel to the United States. It is further

        ORDERED that, on or before April 5, 2019, the government and Claimant Alexander Lazarenko

shall file a Joint Status Report informing the Court of their progress in scheduling the deposition of Alex-

ander Lazarenko, including, if he has not yet received a visa to travel to the United States, the amount of

time reasonably likely for a decision to be made on his visa application. It is further

        ORDERED that, if it appears necessary at that time because insufficient progress has been made

in procuring a visa, the government may renew its application to compel Alexander Lazarenko’s appearance

for a deposition in Ukraine.



        SO ORDERED.
                                                                       Digitally signed by G.
                                                                       Michael Harvey
                                                                       Date: 2019.03.27
Dated: March 27, 2019                                ___________________________________
                                                                       09:45:24 -04'00'
                                                     G. MICHAEL HARVEY
                                                     UNITED STATES MAGISTRATE JUDGE




1
 Nothing in this Order should be interpreted as requiring the government to grant Alexander Lazarenko’s request for
a visa or to interfere with its responsibilities in that regard.


                                                        2
